Case 4:23-cv-03951 Document10_ Filed on 11/03/23 in TXSD Page 1of2
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Southern District of Texas
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Case Number: 4:23-cv-03951
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